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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

TALITHA KINCADE BROUGHTON,                       :
    Plaintiff,                                   :
                                                 :
v.                                               :     CAFN: 1:22-CV-04229-ELR
                                                 :
WALMART, INC.,                                   :
   Defendant,                                    :

      PLAINTIFF’S MOTION FOR AN ORDER PERMITTING COUNSEL,
     PLAINTIFF AND WITNESS TIMOTHY SHELTON TO POSSESS AND
              UTILIZE ELECTRONIC DEVICES AT TRIAL

         COMES NOW Plaintiff Talitha Kincade Broughton, and moves this Court

for an Order permitting Plaintiff, her counsel and his staff, and witness Timothy

Shelton to possess certain electronic devices, and file and exhibit boxes during

trial. More specifically, Plaintiff requests the following:

                                            1.

         Plaintiff requests that her attorney Christopher S. Harris and his assistant

Tram Vu-Phlong be permitted to each possess and use their cellular phones,

laptops and external drives (with accompanying charging devices or cables) during

trial.

                                            2.

         That Plaintiff Talitha Kincade Broughton be permitted to possess her

cellular phone during trial.
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                                          3.

      That Plaintiff’s attorney Christopher S. Harris be permitted to bring up to

three (3) banker’s boxes of documents to be used during trial.

                                          4.

      That Timothy Shelton, Plaintiff’s witness, be permitting to possess and bring

files and records to use as reference, his cellular phone, laptop and/or tablet (with

accompanying charging devices or cables) for use as necessary during trial.

      Respectfully submitted this May 7, 2024.



                                        /s/ Christopher S. Harris
                                        Georgia Bar No. 135243
                                        The Law Firm of Harris & Harris, LLC
                                        P.O. Box 679
                                        Palmetto, Georgia 30268
                                        770-632-8988
                                        harrisandharrislaw@gmail.com
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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(D)

     Pursuant to L.R. 5.1(C), N.D. Ga., I hereby certify that the foregoing

pleadings has been prepared with Times New Roman 14 point font.

     This May 7, 2024.



                                     /s/ Christopher S. Harris
                                     Georgia Bar No. 135243
                                     The Law Firm of Harris & Harris, LLC
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                           CERTIFICATE OF SERVICE

       This is to certify that I have served counselors for the Defendant in this case

in accordance with notice of electronic filing (NEF) which was generated as a

result of electronic filing in this court to:


                               Matthew J. Hurst
                   Walden Adelman Castilla Hiestand and Prout
                       900 Circle 75 Parkway, Suite 1040
                            Atlanta, Georgia 30339
              mhurst@waldonadelman.com and jadelman@wachp.com

       This May 7, 2024.



                                          /s/ Christopher S. Harris
                                          Georgia Bar No. 135243
                                          Attorney for the Plaintiff

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